                               UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                     WESTERN DIVISION
                                   Case No.: 5:20-CR-418--D



    UNITED STATES OF AMERICA               )
                                           )
                  vs.                      )
                                           )                      ORDER TO SEAL
                                           )
    KATHRYN SMITH WORLEY,                  )
                     Defendant             )


           Upon motion of the court appointed counsel, Myron T. Hill, Jr., for the above referenced

    defendant, it is hereby ORDERED that Docket Number 119 be sealed until such time as requested to

    be unsealed by Defense Counsel.

(



          -This the   :ta day of NovczN b.u,_   , 2021.




                                                          T~orwrable James C. Dever III
                                                          United States District Court Judge




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